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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

STRIKE 3 HOLDINGS, LLC,

Strike 3, 19 Civ, 5864 (PAE)

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ORDER

JOHN DOE, subscriber assigned to IP address
74.101.161.42,

Defendants.

 

 

PAUL A. ENGELMAYER, District Judge:

The Court has reviewed Strike 3 Holdings, LLC’s (“Strike 3”) motion for leave to serve a
third-party subpoena prior to a Rule 26(f) conference, DKt. 6, and the accompanying
memorandum of law, Dkt. 7. Strike 3 has filed many other applications for third-party
subpoenas in factually similar cases, and every judge in this District to address such an
application has granted it! For the reasons outlined in Strike 3’s memorandum, the Court grants
Strike 3 leave to file a third-party subpoena on Defendant’s ISP in order to obtain Defendant’s

identity. Strike 3 is not permitted to subpoena the ISP for Defendant’s email address or

telephone number.

Because of the risk of false identification from Defendant’s IP address and the nature of
the copyrighted material at issue, the Court recognizes that Defendant has substantial privacy

interests. As a result, the Court orders the following:

 

| See e.g., Strike 3 Holdings, LLC v. Doe, No. 19 Civ, 5866 (AT) (RWL), 2019 WL 4493342
(S.D.N.Y. Aug. 21, 2019); Strike 3 Holdings, LLC v. Doe, No. 19 Civ. 4840 (AJN), 2019 WL
3242570 (S.D.N.Y. July 9, 2019); Strike 3 Holdings, LLC v. Doe, 19 Civ. 3714 (JMF), 2019 WL
2051780 (S.D.N.Y. May 8, 2019); Strike 3 Holdings, LLC v. Doe, 19 Civ. 2552 (LAK) (OTW),
2019 WL 1620692 (S.D.N.Y. Apr. 16, 2019); Strike 3 Holdings, LLC v. Doe, 19 Civ. 1651 (AT)
(JLC), 2019 WL 1211864 (S.D.N.Y. Mar. 15, 2019).
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1. It is ORDERED that Defendant may proceed anonymously as John Doe unless
and until the Court orders otherwise, subject to the conditions described in the “Notice to
Defendant,” which is attached as Exhibit A to this Order.

2. It is therefore further ORDERED that Strike 3 shall not initiate settlement
discussions prior to service of the Complaint without leave of Court. Nevertheless, if
Defendant initiates such discussions, Strike 3 is permitted to participate therein and to settle
the case.

3. It is further ORDERED that the ISP shall have 60 days from the date of service of
the Rule 45 subpoena upon it to serve upon Defendant a copy of the subpoena, a copy of this
Order, and a copy of the “Notice to Defendant” attached hereto as Exhibit A. The Order
should be attached to the “Notice to Defendant” such that the “Notice to Defendant” is the
first page of the materials enclosed with the subpoena. The ISP may serve Defendant using
any reasonable means, including written notice sent to his or her last known address,
transmitted either by first class mail or via overnight service.

4. It is further ORDERED that Defendant shall have 60 days from the date of service
of the Rule 45 subpoena and this Order upon him to file any motions with this Court
contesting the subpoena (including a motion to quash or modify the subpoena). The ISP may
not turn over Defendant’s identifying information to Strike 3 before the expiration of this 60-
day period. Additionally, if Defendant or his ISP files a motion to quash or modify the
subpoena, the ISP may not turn over any information to Strike 3 until the issues have been

addressed and the Court issues an order instructing the ISP to resume in turning over the

requested discovery.
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5. It is further ORDERED that the subpoenaed entity shall preserve any subpoenaed
information pending the resolution of any timely filed motion to quash.

6. It is further ORDERED that the ISP receiving a subpoena pursuant to this Order
shall confer with Strike 3 and shall not assess any charge in advance of providing the
information requested in the subpoena. An ISP that receives a subpoena and elects to charge
for the costs of production shall provide Strike 3 with a billing summary and cost report.

7. It is further ORDERED that any information ultimately disclosed to Strike 3 in
response to a Rule 45 subpoena may be used solely for the purpose of protecting Strike 3’s
rights as set forth in its Complaint.

8. It is further ORDERED that Strike 3’s time to serve the Summons and Complaint
on Defendant is extended to 45 days after Strike 3 receives the information from the ISP
pursuant to subpoena.

9. Finally, it is hereby ORDERED that Strike 3 shall submit to the Court, every 60
days from the Date of this Order until Defendant files an answer or otherwise responds to the
Complaint, a status update in the form of a letter of not more than two pages. The status
letter must describe Strike 3’s effort to obtain the necessary information from the ISP and to
serve Defendant. Failure to submit such letters in a timely manner may result in dismissal of
this action for failure to prosecute.

The Clerk of Court is directed to terminate the motion pending at Docket No. 6.
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SO ORDERED.

fal A. Engr

PAUL A. ENGELMAYER
United States District Judge
Dated: October 7, 2019
New York, New York
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EXHIBIT A
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NOTICE TO DEFENDANT

1, You are a defendant in Strike 3 Holdings, LLC v. John Doe subscriber assigned
IP address 74.101.161.42, 19 Civ. 5864 (PAE), a case now pending before the Honorable
Paul A. Engelmayer, United States District Judge for the Southern District of New York.

2. Attached is Judge Engelmayer’s Order, dated October 7, 2019, which sets forth
certain deadlines and procedures related to this case.

3. You may hire a lawyer to represent you in this case or you may proceed pro
se (that is, you may represent yourself without the assistance of a lawyer). If you choose to
proceed pro se, all communications with the Court should be through the Pro Se Office of the
Unites States District Court for the Southern District of New York. The Pro Se Office is
located in Room 230 of the United States Courthouse, 500 Pearl Street, New York, N.Y.
10007, and may be reached at (212) 805-0175.

4, The plaintiff in this case has filed a lawsuit claiming that you have illegally
downloaded and/or distributing a movie on your computer.

5. The plaintiff may not know your actual name or address, but it does know the
Internet Protocol address (“IP address”) of the computer associated with the alleged
downloading and/or distributing.

6. The plaintiff has filed subpoenas requesting your identity and contact information
from your Internet Service Provider (“ISP”).

7, If you do not want your ISP to provide this information to the plaintiff and you
believe there is a legal basis for the ISP to withhold the information, you may file a motion to
“quash” or “modify” the subpoena. This must be done within 60 days of the date that you

receive notice from your ISP that you are a defendant in this case. If you choose to
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proceed pro se, your motion to quash or modify the subpoena should be mailed to the Pro
Se Office, as described in paragraph 3.

8. If you move to quash the subpoena or otherwise move to prevent your name from
being turned over to the plaintiff, you may proceed anonymously at this time. Nevertheless,
if you choose to represent yourself in any proceedings before the Court, including a
motion to quash the subpoena, you must provide your real name and address to the
Court. This information is solely for use by the Court, and the Court will not provide this
information to lawyers for the plaintiff unless and until it determines there is no basis to
withhold it. The Court must have this information so that it may communicate with your
regarding the case.

9. Even if you do not file a motion to quash or modify the subpoena, you may still
proceed in this case anonymously at this time. This means that the Court and the plaintiff
will know your identity and contact information, but your identity will not be made public
unless and until the Court determines there is no basis to withhold it.

10. If you want to proceed anonymously without filing a motion to quash or modify
the subpoena, you (or, if represented, your lawyer) should provide a letter stating that you
would like to proceed anonymously in your case. If you choose to proceed pro se, your letter
should be mailed to the Pro Se Office, as described in paragraph 3. This must be done within
60 days of the date that you receive notice from your JSP that you are a defendant in this
case. You should identify yourself in your letter by the case in which you are a defendant
and your IP address. If you submit this letter, then your identity and contact information will

not be revealed to the public unless and until the Court says otherwise.
